            Case 4:07-cv-05434-CW           Document 36   Filed 06/12/2008    Page 1 of 4




 1   DENNIS J. HERRERA, State Bar #139669
     City Attorney
 2   JOANNE HOEPER, State Bar #114961
     Chief Trial Deputy
 3   SCOTT D. WIENER, State Bar #189266
     Deputy City Attorney
 4   Fox Plaza
     1390 Market Street, 6th Floor
 5   San Francisco, California 94102-5408
     Telephone:    (415) 554-4283
 6   Facsimile:    (415) 554-3837

 7   Attorneys for Defendants

 8
                                       UNITED STATES DISTRICT COURT
 9
                                      NORTHERN DISTRICT OF CALIFORNIA
10
      ALEXIS BAUTISTA, an individual,               Case No. C07-5434 EMC
11
                        Plaintiff,                   OPPOSITION TO MOTION TO
12                                                   ENLARGE TIME
               vs.
13                                                   REQUEST FOR DISMISSAL
      CITY AND COUNTY OF SAN                         PURSUANT TO MAY 2, 2008, COURT
14    FRANCISCO, SAN FRANCISCO                       ORDER
      POLICE DEPARTMENT, SAN
15    FRANCISCO POLICE OFFICER
      WILLIAMS, SAN FRANCISCO POLICE
16    SERGEANT ESPINOZA, SAN
      FRANCISCO POLICE OFFICER LUM,
17    DOES 1 to 20, Inclusive,
18                      Defendants.
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     OPPOSITION                                      1                   n:\lit\li2007\080450\00490108.doc
     Bautista v. CCSF, et al.
            Case 4:07-cv-05434-CW           Document 36         Filed 06/12/2008       Page 2 of 4




 1            Defendants oppose Plaintiff's motion to enlarge time. Defendants further request that the
 2   Court enforce its May 2, 2008, order and dismiss Plaintiff's lawsuit for failure to prosecute.
 3            On May 2, 2008, the Court issued an order regarding Defendants' motion to compel.
 4   Defendants had filed that motion based on Plaintiff's failure to provide initial disclosures or to
 5   respond to discovery. In its order, the Court ordered Plaintiff either to oppose the motion by May
 6   22, 2008, or to provide initial disclosures and discovery responses by that day. The Court then
 7   indicated that failure to comply with the deadline could result in dismissal of the case. See
 8   Declaration of Scott Wiener, dated June 11, 2008, Ex. A. To date, Plaintiff has neither opposed the
 9   motion to compel nor provided initial disclosures and discovery responses. See Wiener Decl. at ¶ 2.
10            Plaintiff has now taken the time to prepare a motion to enlarge her time by four months. She
11   has not, however, taken the time to provide initial disclosures or discovery responses. The Court
12   should deny Plaintiff's motion and should dismiss the lawsuit pursuant to the May 2 order. If the
13   Court does not dismiss the lawsuit, the Court should order Plaintiff to provide responses and
14   disclosures immediately.
15            If the Court grants Plaintiff's requested extension, the Court will need to modify the case
16   management order. Fact discovery is currently set to close on September 30. Yet, Plaintiff has
17   prevented Defendants from obtaining discovery from her. In addition to her failure to provide initial
18   disclosures or discovery responses, Plaintiff has repeatedly failed to appear for her deposition. See
19   Wiener Decl. at ¶ 3.
20            Defendants request that the Court deny Plaintiff's motion and dismiss this lawsuit.
21   Dated: June 11, 2008
                                                      DENNIS J. HERRERA
22
                                                      City Attorney
23                                                    JOANNE HOEPER
                                                      Chief Trial Deputy
24                                                    SCOTT D. WIENER
                                                      Deputy City Attorney
25

26                                                      -/s/-   Scott D. Wiener
                                                By:
27                                                    SCOTT D. WIENER
28                                                    Attorneys for Defendants
     OPPOSITION                                           2                       n:\lit\li2007\080450\00490108.doc
     Bautista v. CCSF, et al.
            Case 4:07-cv-05434-CW            Document 36        Filed 06/12/2008       Page 3 of 4




 1                                          Declaration of Scott Wiener
 2            I, Scott Wiener, declare as follows:
 3            1.       I am a Deputy City Attorney in the Office of the San Francisco City Attorney,
 4   counsel of record to Defendants in this lawsuit. I have personal knowledge of the contents of this
 5   declaration, and I could and would testify competently thereto if called upon to do so.
 6            2.       Attached hereto as Exhibit A is a true and correct copy of the Court's May 2, 2008,
 7   order. Defendants request that the Court take judicial notice of the order. To date, Plaintiff has not
 8   filed an opposition to Defendants' motion to compel. Nor has Plaintiff provided initial disclosures or
 9   responded to discovery.
10            3.       Plaintiff canceled her deposition once and failed to appear for deposition the second
11   time that Defendants noticed it.
12

13            I declare under penalty of perjury under the laws of the United States that the foregoing is
14   true and correct and that this declaration was executed on June 11, 2008, at San Francisco,
15   California.
16                                                      -/s/- Scott D. Wiener
                                                     ____________________________________
17
                                                     Scott Wiener
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     OPPOSITION                                           3                       n:\lit\li2007\080450\00490108.doc
     Bautista v. CCSF, et al.
           Case 4:07-cv-05434-CW                     Document 36              Filed 06/12/2008              Page 4 of 4




 1   BAUTISTA V. CCSF, ET AL. – US DISTRICT COURT NO. C07-5434 CW
 2                                 PROOF OF SERVICE

 3           I, HELEN LAU, declare as follows:

 4          I am a citizen of the United States, over the age of eighteen years and not a party to the
     within entitled action. I am employed at the City Attorney’s Office of San Francisco, Fox Plaza
 5   Building, 1390 Market Street, Sixth Floor, San Francisco, CA 94102.

 6           On June 12, 2008, I served the attached:
                           OPPOSITION TO MOTION TO ENLARGE TIME
 7
             REQUEST FOR DISMISSAL PURSUANT TO MAY 2, 2008, COURT ORDER
 8   on the interested parties in said action, by placing a true copy thereof in sealed envelope(s) addressed
     as follows:
 9
     Alexis Bautista
10   1409 Saint Kitts Lane
     Foster City, CA 94404
11   Telephone:     (831) 703-4146
     Cell Phone: (650) 518-1685
12   Facsimile:     (650) 357-0119
     Plaintiff In Pro Per
13
     and served the named document in the manner indicated below:
14
             BY UNITED STATES MAIL: Following ordinary business practices, I sealed true and correct copies of the above
15           documents in addressed envelope(s) and placed them at my workplace for collection and mailing with the United States
             Postal Service. I am readily familiar with the practices of the San Francisco City Attorney's Office for collecting and
16           processing mail. In the ordinary course of business, the sealed envelope(s) that I placed for collection would be deposited,
             postage prepaid, with the United States Postal Service that same day.
17
             BY PERSONAL SERVICE: I sealed true and correct copies of the above documents in addressed envelope(s) and
18           caused such envelope(s) to be delivered by hand at the above locations by a professional messenger service. A
             declaration from the messenger who made the delivery           is attached or      will be filed separately with the
19           court.
             BY OVERNIGHT DELIVERY: I sealed true and correct copies of the above documents in addressed envelope(s) and
20           placed them at my workplace for collection and delivery by overnight courier service. I am readily familiar with the practices
             of the San Francisco City Attorney's Office for sending overnight deliveries. In the ordinary course of business, the sealed
21           envelope(s) that I placed for collection would be collected by a courier the same day.

22           BY FACSIMILE: Based on a written agreement of the parties to accept service by fax, I transmitted true and correct
             copies of the above document(s) via a facsimile machine at telephone number (415) 554-3837 to the persons and the fax
23           numbers listed above. The fax transmission was reported as complete and without error. The transmission report was
             properly issued by the transmitting facsimile machine, and a copy of the transmission report     is attached or     will
24           be filed separately with the court.

25            I declare under penalty of perjury under the laws of the State of California that the foregoing
     is true and correct.
26
             Executed June 12, 2008, at San Francisco, California.
27                                                          -/s/- Helen Lau
28                                                                                 HELEN LAU
     OPPOSITION                                                                                        n:\lit\li2007\080450\00490108.doc
     Bautista v. CCSF, et al. – USDC No. C07-5434 CW
